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    9
                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
   10
              FOR THE COUNTY OF LOS ANGELES – CENTRAL DISTRICT
   11

   12
        SARA AHERN,                              Case Number:
   13                                            [Unlimited Jurisdiction]
                   Plaintiff,
   14                                            COMPLAINT FOR DAMAGES
             v.
   15                                            1. FEHA Employment Discrimination
        FISERV, INC.; FISERV SOLUTIONS,             (Gov. Code §12940(a));
   16   LLC; and DOES 1 through 10, Inclusive,   2. Failure to Accommodate in Violation of
                                                    FEHA (Gov. Code §12940(m));
   17                Defendants.                 3. Failure to Engage in a Timely & Good-
                                                    Faith Interactive Process in Violation of
   18                                               FEHA (Gov. Code §12940(n));
                                                 4. FEHA Harassment (Gov. Code
   19                                               §12940(j));
                                                 5. FEHA Retaliation (Gov. Code
   20                                               §12940(h), (m));
                                                 6. CFRA Interference and Retaliation (Gov.
   21                                               Code § 12945.1, et seq.);
                                                 7. FEHA Failure to Prevent/Remedy
   22                                               Discrimination, Harassment or
                                                    Retaliation (Gov. Code §12940(k));
   23                                            8. Wrongful Discharge in Violation of
                                                    Public Policy; and
   24                                            9. Intentional Infliction of Emotional
                                                    Distress.
   25
   26                                            [DEMAND FOR JURY TRIAL]

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                   PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1         Plaintiff SARA AHERN, demanding a jury trial, brings this action against
    2   Defendants FISERV, INC.; and FISERV SOLUTIONS, LLC; and DOES 1 through 10
    3   (collectively “Defendants”) for general, compensatory, and punitive damages, as well
    4   as costs and attorneys’ fees resulting from Defendants’ unlawful conduct, and as
    5   grounds therefore alleges as follows:
    6

    7                               GENERAL ALLEGATIONS
    8         1.     Plaintiff SARA AHERN (hereafter “Plaintiff”) was at all relevant times an
    9   adult female working for Defendants FISERV throughout Southern California,
   10   servicing mostly Los Angeles, until June 30, 2022, when Defendants unlawfully
   11   terminated her employment. Plaintiff worked for FISERV for 20 years and was 67 years
   12   of age when she was wrongfully terminated.
   13         2.     Plaintiff is informed and believes, and based thereon alleges, that at all
   14   times relevant in this Complaint Defendant FISERV, INC. is and was a corporation
   15   authorized to operate in the State of California. Defendant FISERV, INC. was one of
   16   Plaintiff’s employer during the relevant time period.
   17         3.     Plaintiff is informed and believes, and based thereon alleges, that at all
   18   times relevant in this Complaint Defendant FISERV SOLUTIONS, LLC is and was a
   19   limited liability company authorized to operate in the State of California and with
   20   members who are citizens of California. Defendant FISERV SOLUTIONS, LLC was
   21   one of Plaintiff’s employer during the relevant time period.
   22         4.     Plaintiff is informed and believes, and based thereon alleges, that FISERV,
   23   INC. and FISERV SOLUTIONS, LLC (collectively referred to as “FISERV”) acted as
   24   joint employers with respect to Plaintiff’s employment. Alternatively, they were agents
   25   of one another.
   26   ///
   27   ///
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                    PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1         5.     Plaintiff is ignorant of the true names and capacities of Defendants sued as
    2   DOES 1 through 10, inclusive, and therefore sues these Defendants by such fictitious
    3   names. Plaintiff will amend this Complaint to allege their true names and capacities
    4   when ascertained. Plaintiff is informed and believes and thereon alleges that each of
    5   these fictitiously named Defendants is responsible in some manner for the occurrences
    6   herein alleged, and that Plaintiff’s injuries as herein alleged were proximately caused
    7   by these Defendants.
    8         6.     Plaintiff is informed and believes and based thereon alleges that at all
    9   times, each Defendant, whether named or fictitious, was acting as an agent, employee,
   10   alter ego, joint venturer, joint employer, and/or integrated enterprise for or with each of
   11   the other Defendants and each were co-conspirators with respect to the acts and the
   12   wrongful conduct alleged herein, and/or acted within the scope of their authority and/or
   13   ratified such conduct of the other(s), so that each is responsible for the acts of the other
   14   in connection with the wrongful acts of such other Defendants.
   15         7.     Plaintiff is informed and believes and based thereon alleges that each
   16   Defendant is so interrelated with each other Defendant that they amount to one entity
   17   for purposes of establishing liability. Plaintiff is informed and believes and based
   18   thereon alleges that each Defendant exercises such control over the other Defendant(s),
   19   including as to corporate decision-making, that they amount to and should be treated as
   20   one entity for purposes of establishing liability, including as to Plaintiff and the claims
   21   asserted herein.
   22         8.     Whenever and wherever reference is made in this Complaint to any act or
   23   failure to act by a defendant or co-defendant, such allegations and references shall also
   24   be deemed to mean the acts and/or failures to act by each defendant acting individually,
   25   jointly and severally.
   26         9.     Plaintiff is informed and believes and based thereon alleges that, at all
   27   times material herein, each Defendant and/or its respective agents, employees or
   28   supervisors, authorized, condoned and/or ratified the unlawful conduct of each other.
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                     PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1         10.    Plaintiff is informed and believes and based thereon alleges that, at all
    2   times material herein, Defendants and/or their respective agents, employees, or
    3   supervisors knew or reasonably should have known that unless they intervened to
    4   protect Plaintiff, and to adequately supervise, prohibit, control, regulate, discipline,
    5   and/or otherwise penalize the conduct of the employees of Defendants set forth above,
    6   the remaining defendants and employees perceived the conduct and omissions as being
    7   ratified and condoned.
    8         11.    On information and belief, FISERV employs and has employed at least
    9   five (5) employees and is therefore subject to the California Fair Employment and
   10   Housing Act, California Government Code section 12900, et seq. (hereafter “FEHA”).
   11         12.    Plaintiff is informed and believes and based thereon alleges that, at all
   12   times material herein, Defendants and/or their respective agents, employees or
   13   supervisors, authorized, condoned and/or ratified the unlawful conduct of each other.
   14         13.    In addition, Defendants compelled, coerced, aided, and abetted the
   15   discrimination, which is prohibited by California Government Code section 12940(i).
   16
   17      FACTUAL ALLEGATIONS RELEVANT TO ALL CAUSES OF ACTION
   18         14.    Plaintiff started working for FISERV in or around 2002. Her first job was
   19   Vice President-Conversions for the Los Angeles Data Center (Western Region). In
   20   2016, the Eastern Region and Western Region were combined and Plaintiff’s job title
   21   was changed to Manager Back Office Implementations—Financial. Plaintiff reported
   22   to Neil Coombes. In around 2017/2018, Plaintiff title changed to Manager Back Office
   23   Implementations-Deposits/Financial. Her final role was Manager, Implementations.
   24   Plaintiff’s employment for the entire 20 years was remote, i.e., she worked from home.
   25         15.    In 2019, FISERV acquired First Data Corporation.
   26         16.    Plaintiff was an excellent employee with a stellar history of performance
   27   reviews. She was versed in various positions, and she was always willing to do whatever
   28   was needed for the company, even travel or relocate to another locale if necessary.
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                    PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1         17.    Starting in 2020/2021, Plaintiff began to see some of the more senior (in
    2   tenure), and older employees get pushed out. For example, Neil Coombes, her previous
    3   boss, was pressured to retire. Other, older employees suffered the same fate. When
    4   management would discuss layoffs, they would often refer to them as retirements
    5   because of the age of the employees impacted.
    6         18.    Unfortunately, in 2022, at the age of 67, Plaintiff started suffering some
    7   additional health problems related to her high blood pressure/hypertension. On or about
    8   March 31, 2022, Plaintiff had to go to Urgent Care because of her disability. She waited
    9   until approximately 5:30 p.m. to go, because of her dedication to work. Plaintiff was at
   10   the hospital for approximately five hours and was prescribed medication and told to
   11   follow up with her primary physician.
   12         19.    Plaintiff had multiple doctors’ appointments and tests over the next several
   13   weeks. Plaintiff also informed management that she needed to take some time off and/or
   14   work less hours to monitor her blood pressure. Plaintiff in fact worked less hours in
   15   April in May 2022 and she was open with management that she was trying to take care
   16   of her health. At the same time, Plaintiff was dedicated as always and was able to
   17   perform her job.
   18         20.    In June 2022, unfortunately, Plaintiff suffered that same fate as the other
   19   older/disabled employees. Her employment was terminated, and the only reason given
   20   was a supposed “job elimination.” However, Plaintiff did not believe the reasons to be
   21   true because she knew the business and she knew that her role was important. Also, in
   22   the months leading to her termination, including the time she was suffering serious
   23   health issues, FISERV hired other younger, male employees to fill roles that Plaintiff
   24   could have done. These employees had much less experience than Plaintiff, but likely
   25   cost the company much less.
   26   ///
   27   ///
   28   ///
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                    PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1           21.   Plaintiff was not willing to accept this termination. At her age (67 at the
    2   time), with limited years of work ahead, and 20 years of service with the company, she
    3   did not want to begin a new career somewhere else. So, Plaintiff asked for other job
    4   opportunities. She was a remote employee, but she was flexible and willing to move so
    5   that she could close out her career with FISERV. She reached out to HR, but nobody
    6   was willing to help her.
    7           22.   Plaintiff did not give up, however. She also applied for at least two
    8   positions that she was more than qualified for. She even interviewed for one, but she
    9   did not get the job. There was no logical explanation for FISERV’s decision other than
   10   Plaintiff’s age and salary range.
   11           23.   On or about August 16, 2023, Plaintiff exhausted her administrative
   12   remedies by timely filing a Complaint of Discrimination with the California Department
   13   of Fair Employment & Housing (“DFEH”), regarding the claims alleged herein against
   14   Defendants. Per Plaintiff’s request, an immediate right-to-sue letter was issued on
   15   August 16, 2023.
   16
   17                                FIRST CAUSE OF ACTION
   18         (Employment Discrimination in Violation of FEHA (Gov. Code § 12940(a))
   19   Against Defendants FISERV, INC., FISERV SOLUTIONS, LLC, and Does 1-10)
   20           24.   Plaintiff re-alleges and incorporates all previous and subsequent
   21   paragraphs of this Complaint, as though fully set forth herein.
   22           25.   Under Government Code section 12940(a), it is an unlawful employment
   23   practice for an employer to refuse to hire or employ a person, or to discriminate against
   24   a person in the terms, conditions, or privileges of employment on the basis of, among
   25   other things, the person’s age, and/or disability (actual or perceived).
   26   ///
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                      PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1         26.    At all times mentioned in this Complaint, FISERV regularly employed five
    2   or more persons, bringing them within the provisions of FEHA, which prohibits
    3   employers or their agents from, among other things, discriminating against employees
    4   based on age, and/or disability (actual or perceived).
    5         27.    Plaintiff was subjected to discrimination in the workplace. Plaintiff is
    6   informed and believes that said discrimination was based on her age, and/or disability
    7   (actual or perceived).
    8         28.    Plaintiff is also informed and believes and based thereon alleges that
    9   FISERV had a desire to replace its older, disabled employees with younger and healthier
   10   (or perceived to be healthier) employees and/or employees who were paid less. Plaintiff
   11   is informed and believes that she was replaced by a significantly younger, male
   12   employee. Plaintiff was age 67, suffering from disabilities, and FISERV was aware of
   13   her disability or at minimum perceived her to be disabled at the time of his termination.
   14         29.    FISERV engaged in unlawful employment practices in violation of FEHA
   15   by terminating Plaintiff from her position based on Plaintiff’s age, and/or disability
   16   (actual or perceived). Plaintiff believes and alleges that Plaintiff’s age, and/or disability
   17   (actual or perceived) were substantial and motivating factors in FISERV’s decision to
   18   terminate Plaintiff’s employment. Plaintiff also reached out after the termination to try
   19   and get it reversed, or get transferred or rehired, but her efforts were unsuccessful.
   20   Plaintiff reached out to FISERV’s legal department and Corporate HR, but she was still
   21   not getting anywhere. Plaintiff even reapplied for jobs several months later, and she was
   22   rejected despite her vast experience.
   23         30.    As a direct, foreseeable, and proximate result of FISERV’s discriminatory
   24   acts, Plaintiff has suffered and continues to suffer injuries, substantial losses in earnings
   25   and job benefits, humiliation, embarrassment, mental and emotional distress, and
   26   discomfort, all to Plaintiff’s damage in an amount over the minimum jurisdiction of this
   27   Court, the precise amount of which will be proven at trial. Plaintiff claims such amount
   28
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                     PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1   as damages together with pre-judgment interest pursuant to Civil Code section 3287
    2   and/or any other provision of law providing for pre-judgment interest.
    3         31.    As a further proximate result of the conduct described in this Complaint,
    4   Plaintiff has incurred and will continue to incur medical expenses in an amount
    5   according to proof at the time of trial.
    6         32.    As a result of the above, Plaintiff claims general damages for mental and
    7   emotional distress and aggravation in an amount to be proven at the time of trial.
    8         33.    In doing the acts herein alleged, FISERV, through their officers, directors,
    9   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
   10   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
   11   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
   12   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
   13   is also entitled to punitive damages in an amount according to proof at the time of trial.
   14         34.    Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
   15   expenses, is also entitled to recover said costs and fees in an amount according to proof
   16   at the time of trial, pursuant to Government Code section 12965(b).
   17

   18                              SECOND CAUSE OF ACTION
   19   (Failure to Provide Reasonable Accommodation, Pursuant to Government Code
   20     § 12940(m), Against Defendants FISERV, INC., FISERV SOLUTIONS, LLC,
   21                                        and Does 1-10)
   22         35.    Plaintiff re-alleges and incorporates all previous and subsequent
   23   paragraphs of this Complaint, as though fully set forth herein.
   24         36.    Under Government Code section 12940(m), it is unlawful for an employer
   25   to fail to make reasonable accommodations for an applicant or employee with a
   26   disability. The employer also has an affirmative duty to, among other things, inform
   27   employees and applicants with a disability of other job opportunities and ascertain
   28   whether the employee or applicant is interested in, or qualified for said positions.
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                     PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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    1   Additionally, an employer who regards an employee or applicant as disabled also has a
    2   duty to provide reasonable accommodations for that employee.
    3         37.    Plaintiff was disabled and/or perceived by Defendants as disabled. As
    4   such, Defendants, who were aware of Plaintiff’s disability, and/or who regarded
    5   Plaintiff as disabled, had a duty to provide Plaintiff with reasonable accommodation if
    6   any were necessary.
    7         38.     Defendants violated Government Code section 12940(m) by refusing to
    8   provide a reasonable accommodation for Plaintiff’s actual or perceived disabilities.
    9   Instead, they targeted Plaintiff for termination and terminated her employment just
   10   weeks after she disclosed a disability and need for accommodations.
   11         39.    As a proximate result of these violations of Government Code section
   12   12940(m), Plaintiff has suffered and continues to suffer aggravation of injuries,
   13   substantial losses in earnings and job benefits, humiliation, embarrassment, mental and
   14   emotional distress, and discomfort, all to Plaintiff’s damage in an amount over the
   15   minimum jurisdiction of this Court, the precise amount of which will be proven at trial.
   16   Plaintiff claims these damages together with pre-judgment interest pursuant to Civil
   17   Code section 3287 and/or any other authority providing for pre-judgment interest.
   18         40.    As a further proximate result of the conduct described in this Complaint,
   19   Plaintiff has incurred and will continue to incur medical expenses in an amount
   20   according to proof at the time of trial.
   21         41.    In doing the acts herein alleged, FISERV, through their officers, directors,
   22   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
   23   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
   24   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
   25   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
   26   is also entitled to punitive damages in an amount according to proof at the time of trial.
   27   ///
   28   ///
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                     PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1            42.   Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
     2   expenses, is also entitled to recover said costs and fees in an amount according to proof
     3   at the time of trial, pursuant to Government Code section 12965(b).
     4
     5                                THIRD CAUSE OF ACTION
     6     (Failure to Engage in Timely Good Faith Interactive Process, Pursuant to Gov.
     7         Code § 12940(n), Against Defendants FISERV, INC., FISERV SOLUTIONS,
     8                                     LLC, and Does 1-10)
     9            43.   Plaintiff re-alleges and incorporates all previous and subsequent
    10   paragraphs of this Complaint, as though fully set forth herein.
    11            44.   Under Government Code section 12940(n), it is unlawful for an employer
    12   to fail to engage in a timely, good faith interactive process to determine effective
    13   reasonable accommodations, if any, for an employee or applicant with a disability or
    14   medical condition. Section 12940(n) also requires an employer who regards an
    15   employee as disabled to engage that employee in a timely, good faith interactive process
    16   to determine effective accommodations for that perceived disability. Engaging in the
    17   interactive process is a continuing duty of the employer under FEHA.
    18            45.   Plaintiff was disabled within the meaning of FEHA and FISERV was
    19   aware of her disability, or perceived Plaintiff to be disabled. Specifically, FISERV was
    20   aware of Plaintiff’s disability because she informed management about her March 31,
    21   2022 visit to Urgent Care and follow up visits. She also requested time off and/or a
    22   modified schedule so she could work slightly less hours and focus on her health.
    23   FISERV failed to engage in a timely, good faith interactive process with Plaintiff at all
    24   required times. Instead, FISERV targeted Plaintiff for termination and terminated her
    25   employment. To make matters worse, FISERV refused to transfer Plaintiff to another
    26   position (despite her requests), and they also failed to rehire her when she reapplied.
    27   ///
    28   ///
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                        PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1            46.   As a direct, foreseeable, and proximate result of Defendant FISERV’s
     2   failure to engage in a timely and good faith interactive process, Plaintiff has suffered
     3   and continues to suffer aggravation of injuries, substantial losses in earnings and job
     4   benefits, humiliation, embarrassment, mental and emotional distress, and discomfort,
     5   all to Plaintiff’s damage in an amount over the minimum jurisdiction of this Court, the
     6   precise amount of which will be proven at trial. Plaintiff claims such amount as damages
     7   together with pre-judgment interest pursuant to Civil Code section 3287 and/or any
     8   other authority providing for pre-judgment interest.
     9            47.   As a further proximate result of the conduct described in this Complaint,
    10   Plaintiff has incurred and will continue to incur medical expenses according to proof.
    11            48.   In doing the acts herein alleged, FISERV, through their officers, directors,
    12   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
    13   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
    14   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
    15   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
    16   is also entitled to punitive damages in an amount according to proof at the time of trial.
    17            49.   Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
    18   expenses, is also entitled to recover said costs and fees in an amount according to proof
    19   at the time of trial, pursuant to Government Code section 12965(b).
    20
    21                               FOURTH CAUSE OF ACTION
    22                  (Harassment, Pursuant to Government Code § 12940(j),
    23         Against Defendants FISERV, INC., FISERV SOLUTIONS, LLC, and Does 1
    24                                          through 10)
    25            50.   Plaintiff re-alleges and incorporates all previous and subsequent
    26   paragraphs of this Complaint, as though fully set forth herein.
    27   ///
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                        PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1         51.    Under Government Code section 12940(j), it is unlawful for an employer
     2   or individual to harass an employee based on, among other things, the employee’s age,
     3   and/or disability (actual or perceived), or for engaging in protected activities.
     4         52.     Defendants FISRV, through their managing agents, engaged in actions to
     5   harass Plaintiff, at the time a 67-year-old female with physical disabilities, based on
     6   those protected characteristics. Defendants FISERV violated Government Code section
     7   12940(j) by creating a hostile work environment and by failing to prevent said acts from
     8   occurring. Defendants FISERV terminated Plaintiff’s employment based on her
     9   protected characteristics and protected acts, with no actual stated reason for the
    10   termination other than a “job elimination.”
    11         53.    Defendants FISERV indicated a desire to hire younger, healthier, and less
    12   expensive workers in place of older workers like Plaintiff, and on information and belief
    13   they carried out these desires. Defendants FISEV terminated Plaintiff’s employment for
    14   false, pretextual, and malicious reasons based on her protected characteristics.
    15         54.    The conduct was carried out, authorized, and/or ratified by Plaintiff’s
    16   managers and other officers, directors and/or managing agents of Defendants FISERV;
    17   therefore, Defendants FISERV are strictly liable for the conduct. Alternatively, the
    18   actions were known by Defendants FISERV’s officers, directors and/or managing
    19   agents yet nothing was done to prevent it. In either event, Defendants FISERV are liable
    20   for the conduct because the harassers were managers and/or because Defendants
    21   FISERV knew or should have known of the conduct and failed to prevent it and/or
    22   ratified and/or condoned it.
    23         55.    Plaintiff believes that her age, and/or disability (actual or perceived), and
    24   protected conduct, was the cause of the unwanted harassing conduct described above.
    25   The actions were sufficiently severe or pervasive to alter the conditions of employment
    26   and thereby constituted a hostile work environment in violation of FEHA.
    27   ///
    28   ///
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                      PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1            56.   As a direct, foreseeable, and proximate result of Defendant FISERV’s
     2   actions, Plaintiff has suffered and continues to suffer aggravation of her injuries,
     3   substantial losses in earnings and job benefits, humiliation, embarrassment, mental and
     4   emotional distress, and discomfort, all to Plaintiff’s damage in an amount over the
     5   minimum jurisdiction of this Court, the precise amount of which will be proven at trial.
     6            57.   As a further proximate result of Defendants FISERV’s conduct described
     7   herein, Plaintiff has incurred and will continue to incur medical expenses in an amount
     8   according to proof at the time of trial.
     9            58.   In doing the acts herein alleged, FISERV, through their officers, directors,
    10   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
    11   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
    12   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
    13   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
    14   is also entitled to punitive damages in an amount according to proof at the time of trial.
    15            59.   Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
    16   expenses, is also entitled to recover said costs and fees in an amount according to proof
    17   at the time of trial, pursuant to Government Code section 12965(b).
    18
    19                                 FIFTH CAUSE OF ACTION
    20                  (Retaliation, Pursuant to Government Code § 12940(h)(m),
    21         Against Defendants FISERV, INC., FISERV SOLUTIONS, LLC, and Does 1
    22                                          through 10)
    23            60.   Plaintiff re-alleges and incorporates all previous and subsequent
    24   paragraphs of this Complaint, as though fully set forth herein.
    25            61.   Government Code section 12940(h) provides that it is unlawful for an
    26   employer to discriminate against any person because the person has engaged in
    27   protected activities under FEHA.
    28   ///
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                        PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1         62.      Government Code section 12940(m) provides that is unlawful for an
     2   employer to “retaliate or otherwise discriminate against a person for requesting
     3   accommodation under this subdivision, regardless of whether the request was granted.”
     4         63.      Plaintiff engaged in more than one protected activity under FEHA
     5   preceding her ultimate termination, including that she requested and took protected
     6   medical leave (including under CFRA) for her disability, requested reasonable
     7   accommodations upon her return, and protested the illegal terminations and forced
     8   retirements.
     9         64.      As a proximate result of Defendants FISERV’s actions, Plaintiff has
    10   suffered and continues to suffer aggravation of injuries, substantial losses in earnings
    11   and job benefits, humiliation, embarrassment, mental and emotional distress, and
    12   discomfort, all to Plaintiff’s damage in an amount over the minimum jurisdiction of this
    13   Court, the precise amount of which will be proven at trial. Plaintiff claims such amount
    14   as damages together with pre-judgment interest pursuant to Civil Code section 3287
    15   and/or any other provision of law providing for pre-judgment interest.
    16         65.      As a further proximate result of the conduct described in this Complaint,
    17   Plaintiff has incurred and will continue to incur medical expenses in an amount
    18   according to proof at the time of trial.
    19         66.      In doing the acts herein alleged, FISERV, through their officers, directors,
    20   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
    21   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
    22   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
    23   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
    24   is also entitled to punitive damages in an amount according to proof at the time of trial.
    25         67.      Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
    26   expenses, is also entitled to recover said costs and fees in an amount according to proof
    27   at the time of trial, pursuant to Government Code section 12965(b).
    28   ///
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                        PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1                                 SIXTH CAUSE OF ACTION
     2      (CFRA Interference and Retaliation (Gov. Code §12945.1, et. seq.,), Against
     3       Defendants FISERV, INC., FISERV SOLUTIONS, LLC, and Does 1-10)
     4         68.      Plaintiff re-alleges and incorporates all previous and subsequent
     5   paragraphs of this Complaint, as though fully set forth herein.
     6         69.      Government Code section 12945.1, et seq., also known as CFRA, provides
     7   job protection for an employee who needs time off for a serious medical condition. It is
     8   unlawful for an employer to interfere with an employee’s right to take leave under
     9   CFRA. Under Section 12945.2(k), it is also unlawful to retaliate against an employee
    10   who exercise her right to protection under CFRA.
    11         70.      Plaintiff suffered a serious medical condition in March 2022 and she
    12   sought medical treatment through April and May 2022. At the time, Plaintiff should
    13   have been offered leave under CFRA. However, Plaintiff was rushed to return to work,
    14   which she did, only to be terminated weeks later when she still technically had CFRA
    15   entitlement.
    16         71.      As a proximate result of Defendants FISERV’s actions, Plaintiff has
    17   suffered and continues to suffer aggravation of her injuries, substantial losses in
    18   earnings and job benefits, humiliation, embarrassment, mental and emotional distress,
    19   and discomfort, all to Plaintiff’s damage in an amount over the minimum jurisdiction
    20   of this Court, according to proof at trial. Plaintiff claims such amount as damages
    21   together with pre-judgment interest pursuant to Civil Code section 3287 and/or any
    22   other provision of law providing for pre-judgment interest.
    23         72.      As a further proximate result of the conduct described in this Complaint,
    24   Plaintiff has incurred and will continue to incur medical expenses according to proof.
    25         73.      In doing the acts herein alleged, FISERV, through their officers, directors,
    26   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
    27   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
    28   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
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                        PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
     2   is also entitled to punitive damages in an amount according to proof at the time of trial.
     3         74.    Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
     4   expenses, is also entitled to recover said costs and fees in an amount according to proof
     5   at the time of trial, pursuant to Government Code section 12965(b).
     6

     7                             SEVENTH CAUSE OF ACTION
     8    (Failure to Prevent or Remedy Discrimination, Harassment, and/or Retaliation
     9   in Violation of FEHA (Gov. Code §12940(k)), Against Defendants FISERV, INC.,
    10                         FISERV SOLUTIONS, LLC, Does 1-10)
    11         75.    Plaintiff re-alleges and incorporates all previous and subsequent
    12   paragraphs of this Complaint, as though fully set forth herein.
    13         76.    Defendants FISERV failed to prevent the above-referenced acts of
    14   discrimination, harassment, and retaliation towards Plaintiff, in violation of
    15   Government Code section 12940(k). The failure to undertake a prompt and adequate
    16   investigation and complete failure to prevent the above-alleged acts of discrimination,
    17   and retaliation constitutes an unlawful employment practice. Such conduct is in
    18   violation of FEHA and has resulted in damage and injury to Plaintiff as alleged herein.
    19         77.    As a proximate result of Defendants FISERV’s violation of Government
    20   Code section 12940(k), Plaintiff has suffered and continues to suffer injuries,
    21   substantial losses in earnings and job benefits, humiliation, embarrassment, mental and
    22   emotional distress, and discomfort, all to Plaintiff’s damage in an amount over the
    23   minimum jurisdiction of this Court, the precise amount of which will be proven at trial.
    24   Plaintiff claims such amount as damages together with pre-judgment interest pursuant
    25   to Civil Code section 3287 and/or any other law providing for pre-judgment interest.
    26   ///
    27   ///
    28   ///
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                      PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1           78.   In doing the acts herein alleged, FISERV, through their officers, directors,
     2   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
     3   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
     4   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
     5   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
     6   is also entitled to punitive damages in an amount according to proof at the time of trial.
     7           79.   Plaintiff, who has incurred and continues to incur attorneys’ fees and legal
     8   expenses, is entitled to recover said costs and fees in an amount according to proof at
     9   the time of trial, pursuant to Government Code section 12965(b).
    10

    11                              EIGHTH CAUSE OF ACTION
    12                    (Wrongful Discharge in Violation of Public Policy,
    13   Against Defendants FISERV, INC., FISERV SOLUTIONS, LLC, and Does 1-10)
    14           80.   Plaintiff re-alleges and incorporates all previous and subsequent
    15   paragraphs of this Complaint, as though fully set forth herein.
    16           81.   The above-described conduct of Defendants constitutes discrimination,
    17   harassment, retaliation, and wrongful termination of Plaintiff in violation of public
    18   policy embodied in FEHA, codified at California Government Code sections 12900–
    19   12996.
    20           82.   As a proximate result of Defendant FISERV’s actions, Plaintiff has
    21   suffered and continues to suffer injuries, substantial losses in earnings and job benefits,
    22   humiliation, embarrassment, mental and emotional distress, and discomfort, all to
    23   Plaintiff’s damage in an amount over this Court’s jurisdictional minimum, to be proven
    24   at trial.
    25           83.   As a further proximate result of Defendant FISERV’s conduct described
    26   in this Complaint, Plaintiff has incurred and will continue to incur medical expenses in
    27   an amount according to proof at the time of trial.
    28   ///
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     1          84.    In doing the acts herein alleged, FISERV, through their officers, directors,
     2   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
     3   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
     4   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
     5   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
     6   is also entitled to punitive damages in an amount according to proof at the time of trial.
     7          85.    As a further result of the wrongful conduct of Defendants, Plaintiff is also
     8   entitled to attorneys’ fees and costs pursuant to Code of Civil Procedure section 1021.5.
     9
    10                                    NINTH CAUSE OF ACTION
    11                        (Intentional Infliction of Emotional Distress,
    12   Against Defendants FISERV, INC., FISERV SOLUTIONS, LLC, and Does 1-10)
    13          86.    Plaintiff re-alleges and incorporates all previous and subsequent
    14   paragraphs of this Complaint, as though fully set forth herein.
    15          87.    The conduct of Defendants FISERV, as set forth above, was so extreme
    16   and outrageous that it exceeded the boundaries of a decent society and lies outside the
    17   compensation bargain. Said conduct was intended to cause Plaintiff severe emotional
    18   distress or was done in conscious disregard of the probability of causing severe
    19   emotional distress. Said conduct was also in direct violation of California law public
    20   policy, specifically those found in the California Labor Code and FEHA.
    21          88.    As a proximate result of the wrongful conduct of Defendants, Plaintiff has
    22   sustained substantial losses in earnings and other employment benefits in an amount
    23   according to proof at the time of trial.
    24          89.    As a further proximate result of the wrongful conduct of Defendants,
    25   Plaintiff has suffered and continues to suffer humiliation, embarrassment, severe
    26   emotional distress, and mental anguish, all to Plaintiff’s damage in an amount according
    27   to proof at the time of trial.
    28   ///
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                       PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1         90.    In doing the acts herein alleged, FISERV, through their officers, directors,
     2   and/or managing agents, acted with oppression, fraud, malice, and in the conscious
     3   disregard of the rights of Plaintiff. Alternatively, FISERV’s officers, directors, and
     4   managing agents ratified oppressive, fraudulent, and/or malicious conduct against
     5   Plaintiff and other older, disabled, or otherwise protected employees. As such, Plaintiff
     6   is also entitled to punitive damages in an amount according to proof at the time of trial.
     7
     8                                  PRAYER FOR RELIEF
     9        WHEREFORE, Plaintiff SARA AHERN prays for judgment against Defendants
    10   FISERV, INC., FISERV SOLUTIONS, LLC, and DOES 1 through 10, as follows:
    11         1. For past and future compensatory damages, according to proof;
    12         2. For pre and post-judgment interest at the legal rate;
    13         3. For exemplary and punitive damages according to proof;
    14         4. Injunctive, equitable and declaratory relief;
    15         5. Attorneys’ fees and costs of suit;
    16         6. For such other and further relief as the Court deems proper.
    17

    18
         Dated: August 14, 2023           JAVANMARDI LAW, PC | HOLMQUIST LAW, PC

    19
                                                       MOSSAVAR LAW, PC

    20
    21
                                                Peter A. Javanmardi, Esq.
    22
                                                Marc A. Holmquist, Esq.
    23                                          Miranda A. Mossavar, Esq.
                                                Attorneys for Plaintiff, Sara Ahern
    24
    25
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                      PLAINTIFF’S COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL


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     1
                                   DEMAND FOR JURY TRIAL

     2
              Plaintiff hereby demands a trial by jury.
     3

     4   Dated: August 14, 2023         JAVANMARDI LAW, PC | HOLMQUIST LAW, PC
     5                                               MOSSAVAR LAW, PC
     6

     7
     8                                        Peter A. Javanmardi, Esq.
                                              Marc A. Holmquist, Esq.
     9
                                              Miranda A. Mossavar, Esq.
    10                                        Attorneys for Plaintiff, Sara Ahern
    11

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